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                           UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                       No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
                                                       MDL No. 2323
LEAGUE PLAYERS’ CONCUSSION
INJURY LITIGATION                                      Hon. Anita B. Brody


Kevin Turner and Shawn Wooden,                         Civ. Action No. 14-00029-AB
on behalf of themselves and
others similarly situated,
           Plaintiffs,

                v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
           Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS


 MEMORANDUM IN SUPPORT OF THE MOTION OF CO-LEAD CLASS COUNSEL
 ANAPOL WEISS TO COMPEL THE CLAIMS ADMINISTRATOR TO REIMBURSE
  ALL CLASS COUNSEL OUT OF THE “ATTORNEYS’ FEES QSF” (“THE FUND”)
 THOSE MONIES EACH CLASS ATTORNEY CONTRIBUTED TO THE COMMON
  BENEFIT EXPENSES AND FOR AN ORDER ESTABLISING “THE EDUCATION
                    FUND” PER THE SETTLEMENT.


INTRODUCTION

       Co-Lead Class Counsel, Anapol Weiss has filed the instant Motion seeking a Hearing

and/or an Order to compel the Claims Administrator to: (1) pay to each Class Attorney the funds

recovered and deposited in “the Fund” to reimburse counsel for the common benefit expenses

incurred in the prosecution of this case; and, (2) an Order compelling the Administrator to
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establish “the Education Fund” described in the Settlement Agreement and to have the Court

appoint persons to administer the Fund.

BACKGROUND INFORMATION

       On February 13, 2017, the co-lead counsel on behalf of class counsel filed a Petition

seeking an Order requiring the NFL to pay $112.5 Million Dollars in attorneys’ fees and costs

and “holdback” per the Settlement Agreement. On March 7, 2107, this Honorable Court entered

an Order [ECF No. 7246] appointing the Garretson Resolution Group the Fund Administrator of

the Attorneys’ Fees Qualified Settlement Fund out of which the common benefit fees and costs

will be paid. This fund was denominated the “Attorneys’ Fees QSF”. The Court directed that

the NFL pay into “the Fund” $112,500,000.00, which is intended to serve as payment of

common benefit fees and costs incurred and reported to the Court. On March 8, 2107, this

Honorable Court provided notice to class members and class counsel advising of their

opportunity to respond to the aforementioned Petition. All parties and attorneys having an

interest in “the Fund” have filed pleadings with the Court. The Court has yet to decide any of the

issues related to the common benefit fees and expenses. However, because no party nor any

attorney has filed any objection to the common benefit expenses or the requested reimbursement

of those expenses, co-lead counsel submit that those expenses should be paid now.1

       Secondly, as part of the settlement, the NFL was required to pay $10,000,000 to establish

an Education Fund which will be used to “support education programs promoting safety and

injury prevention with respect to football players . . . and other educational initiatives benefitting




1
       While these expenses were previously documented in a pleading submitted by co-lead
counsel as totaling $5,682,779.30, that amount is slightly inaccurate and will be supplemented.
                                                  2
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Retired NFL Players. . . . “[Amended Settlement Agreement, Section 2.1 (hh-ii) and Section 12.1

et al. The Settlement Agreement further provided for:




        Despite the requirement to establish the Education Fund and take all necessary steps to

establish procedures and controls to manage and account for the disbursement of funds to the

educational projects, to our knowledge the Fund has not been established and steps have not been

taken to create funded programs. The need to establish the Education Fund is paramount. Every day,

young people and former players are exposed to potential head injury or the harm of having suffered head

injury and they need help through education. That is the reason this Fund was established. The failure of

counsel to establish through proper procedures a committee to develop education projects, monitor the

funding of these projects and their success demonstrates the need for judicial intervention.

        For these reasons, co-lead counsel requests that this Honorable Court enter an Order compelling

the payment of the common benefit case expenses to each law Firm whose financial outlays have been

submitted to the Court and unopposed. Co-lead counsel also requests an Order of the Court appointing

co-lead counsel to establish a committee to develop plans for the creation of education programs and fund

those projects in accordance with the terms set forth in the Agreement regarding the Education Fund.


        DATED:           March 22, 2018

                                                  Respectfully submitted,
                                                  /s/ Larry E. Coben_____
                                                  ANAPOL WEISS
                                                  Larry Coben
                                                  Sol Weiss.
                                                     3
